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                                                      11/09/2020




                                                                         Saima Z. Sheikh
                                                                         direct dial: 212.589.4243
November 6, 2020                                                         ssheikh@bakerlaw.com


                                                 It is hereby ORDERED that the Initial Pretrial Conference
VIA ECF                                          scheduled for November 17, 2020 is ADJOURNED to
                                                 November 23, 2020 at 2:00 p.m. The parties shall submit the
The Honorable John P. Cronan
                                                 joint letter outlined in the Court's October 26, 2020 Order
United States District Court
                                                 (Dkt. 19) by November 16, 2020.
Southern District of New York
500 Pearl Street, Room 1320
                                                 SO ORDERED.
New York, NY 10007

Re:      Better Holdco, Inc. v. Beeline Loans, Inc. Date: November 9, 2020
         Case No.: 1:20-cv-08686                        New York, New York
                                                                                _______________________
Dear Judge Cronan:                                                              JOHN P. CRONAN
                                                                                United States District Judge
         This Firm represents Defendant Beeline Loans, Inc. (“Defendant”) in the above-referenced
action. I write, pursuant to Rule 3(B) of Your Honor’s Individual Rules and Practices in Civil Cases,
to request a brief adjournment of the November 17, 2020 Initial Pre-Trial Conference (IPTC) at
noon (see Doc. No. 19). The reason for this request is because neither I nor my colleague, Amy
Traub, are available on this date due to a previously scheduled mediation. For the same reason,
Defendant also requests that the deadline to submit a joint letter and proposed Case Management
Plan and Scheduling Order, which is currently due on November 10, 2020, be adjourned to a date
that is one week before any rescheduled IPTC date.

         This is the first request to adjourn the above-referenced deadlines. Plaintiff’s counsel
consents to this request. The parties have conferred and are available to attend an IPTC on
November 19, 20, 23, or 24, or on another date at the Court’s convenience. We thank the Court
for its consideration of this request.

                                             Respectfully submitted,

                                             /s/ Saima Z. Sheikh
                                                 Saima Z. Sheikh

cc:      All Counsel of Record (via ECF)



4826-8930-0433
